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                                                                                              ATTORNEYS         A T   LAW




                                              January 25, 2019


VIA ECF


Judge Thomas I. Vanaskie
JAMS, Inc.
1717 Arch St., Suite 3810
Philadelphia, PA 19103

        Re: Defendants' Discovery Status Report
            CFPB v. Navient Corp. et al., No. 3:17-CV-00101 (M.D. Pa.)


Dear Judge Vanaskie:


        Pursuant to your January 17, 2019 Order, Defendants respectfully submit this concise
report summarizing discovery disputes.


       Defendants' discovery to date: The CFPB's investigation of Defendants commenced
more than five years ago, in September 2013. At that time, the CFPB served its first request for
documents regarding Defendants' student loan servicing and collection practices. Defendants
cooperated with that investigation, producing more than 450,000 pages of documents, answering
dozens of interrogatories, preparing data reports, and providing nine witnesses for testimony.
This lawsuit was filed on January 18, 2017. Fact discovery was initially set to close on May 1 1,
2018, but it has been extended multiple times at the CFPB's request; it is now set to close on
June 7, 2019.


       The discovery completed to date has been extraordinary in scope. Defendants have
responded to numerous interrogatories, completed a rolling production of almost six million
pages of documents on October 4, 2018 (including hundreds of thousands of internal company
emails), and produced multiple iterations of privilege logs, including a final detailed document-
by-document privilege log produced on October 9, 2018. In addition, Defendants produced
records for more than six million borrowers on January 10, 2019. Defendants have taken thirty
depositions and defended twenty-four depositions. Nine additional depositions have been
noticed.


        Defendants' substantial production obligations are essentially complete. The only
remaining issues are: (1) Defendants are in the process of collecting a small set of additional
borrower materials in response to a request sent by the CFPB on December 7, 2018; and (2) The
CFPB has indicated that it wants Defendants to produce several thousand borrower call
recordings, but has yet to identify the calls that it is requesting. On January 1 8, 2019,
Defendants asked the CFPB to promptly identify the desired call recordings so that the parties




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can meet and confer to discuss next steps and any production can be completed ahead of the June
7 discovery deadline.

         CFPB's discovery to date: The CFPB's discovery has been less expansive. The CFPB
initially represented that it identified 478,000 documents as responsive to its search terms.
Ultimately, the CFPB only produced 1 1,000 documents, many of which are duplicates, publicly
available documents, and heavily redacted documents. The CFPB also withheld a substantial
number of documents based on qualified deliberative process and law enforcement privileges.

         Set forth below is a summary of the pending discovery disputes:


         1. CFPB's production of documents containing the search terms 'Navient' or
'Pioneer'. In its December 21, 2018 Order ("December Order"), the Court "order [ed] the CFPB
to turn over all non-privileged documents that mention 'Navient' or 'Pioneer.'" Ex. 1 at 7.
During the December 10, 2018 Discovery Hearing ("December Hearing"), the CFPB stated that
at least 55,000 documents contained one of these terms, but refused to clarify whether that
number included full document "families" (e.g., parent emails and their attachments), even after
Defendants' counsel expressly noted this lack of clarity.1 The Court recognized this ambiguity
in its December Order, ordering the CFPB to turn over the documents "[r]egardless of the exact
number of documents at issue." Ex. 1 at 5.


        The CFPB asserts that the Court's December Order excluded attachments/parents and
instead requires production of only documents that hit on the search term 'Navient' or 'Pioneer.'
Defendants believe that the standing Discovery Order in this case requires the production of
document families,2 that nothing in the Court's December Order abrogates that requirement, and
that withholding parents/attachments would deprive Defendants of critically relevant information
necessary to understanding the documents. Further, Defendants' productions have included full
families. The parties' respective positions are detailed in the letters attached as Exhibits 4 and 5.

       2. The CFPB's deficient log and claims of qualified privileges. The CFPB has
produced three privilege logs, each of which (Defendants assert) is vague and conclusory.
Currently at issue are 35 categories of documents from the first two logs,3 totaling roughly 800
documents, as to which the CFPB has claimed a governmental privilege without adequately

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   [P]art of what is not clear to us ... is whether that [number] includes families, which, by that, I mean,
just because they will - they'll be the main document, there could be attachments to the document." Ex. 2
at 39:24 -40:5


2 The November 17, 2017 Discovery Order, adopted by the Court and stipulated to by the parties, is
attached at Exhibit 3 . The relevant portion is on page 8, paragraph (k).

3 The third log, produced in October 201 8, suffers from many of the same flaws as the first two logs. The
parties agreed to table that dispute until receiving guidance from the Special Master on the first two logs,
which will inform a resolution of the issues with the third log. Ex. 1 at 8, n. 3.
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explaining the basis for such an assertion. The Court agreed "that many of the categories listed
on the privilege logs, appear, on their face, to insufficiently state a claim of privilege." Ex. 1 at
7; see also Ex. 2 at 48:22-49:4 (the Court listing the categories it initially determined did not
present a valid claim of privilege). Accordingly, the Court "appoint[ed] a special master to sort
through the CFPB's claim of privilege, most likely through in camera review of the purportedly
privileged documents." Ex. 1 at 7.


        Because the privileges asserted by the CFPB are qualified, they are subject to a balancing
test weighing the interest in protecting internal deliberations from public disclosure against the
relevance of the materials to the case. This lawsuit was brought by the CFPB concerning
Defendants' actions under a government contract with, and subject to extensive oversight and
direction by, the Department of Education. Discussions within the government about policies
and requirements governing Defendants' conduct—including discussions relating to the
government's knowledge or approval of that conduct—are critically relevant to defenses that will
be tried before the jury in this matter. The Court has already held that communications between
the CFPB and the Department of Education are relevant to this case. Ex. 6 at 1 1 .

       At the December Hearing, the Court asked Defendants to attempt to describe the potential
relevance of the documents in the 35 challenged categories, but noted that "it's possible you'll
come to me and tell me that you can't discern the relevance," Ex. 2 at 82:24-25, given that
Defendants "can hardly be expected, it seems, to know the relevance of documents, when the
very objection you have is that the assertion of privilege is insufficiently descriptive to allow you
to determine whether or not the documents are relevant." Ex. 2 at 78:2-6. Defendants
nonetheless made a good faith effort, based on the scant and generic information the CFPB
provided, to explain the relevance of the documents in those 35 categories. Defendants' filing is
attached as Exhibit 7, and the CFPB's response as Exhibit 8.

      3. Sufficiency of the CFPB's privilege log in connection with its upcoming
production. The Court's December Order directed that for the upcoming production of
documents mentioning "Navient" or "Pioneer" (#1 above), "[t]he CFPB shall provide an
appropriate and detailed log in the event it withholds any documents based on privilege." Ex. 1
at 7. (Emphasis added.) The Court also directed the parties to agree on a production schedule,
and Defendants reluctantly agreed to a deadline of April 30, 2019. But given that only five
weeks will remain in discovery and the conclusory nature of the CFPB's prior logs, Defendants
requested that the CFPB's log provide at least as much detail as Defendants' document-by-
document privilege log. The CFPB refused. The parties' filings on this issue are attached in
Exhibits 4 and 5, respectively.


        4. CFPB's challenges to Defendants' privilege log. Defendants produced a final log
on October 9, 201 8. The CFPB did not raise a single issue with that log until the Court
appointed a Special Master to review the CFPB's insufficient privilege assertions. Without
conferring, the CFPB filed a letter with the Court on December 27, 201 8, attached as Exhibit 9.
Defendants' response (Exhibit 10 attached) explains that Defendants' document-by-document
log fully complies with the Discovery Order and provides far more detail than the CFPB's logs.
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Moreover, any time the CFPB has had questions about particular entries on prior versions of the
log, Defendants have provided further information and remain willing to do so if reasonable and
appropriate.


       Defendants will attend the status conference in person on Monday, and look forward to
the opportunity to discuss the history and posture of this matter as well as the particularized
items (A - H) in your Order dated January 22, 2019.

                                                      Respectfully,


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Enclosures
